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 UNITED STATES BANKRUPTCY COURT
 EASTERN DISTRICT OF NEW YORK
 ------------------------------------------------------------- x
 In re:                                                        : Chapter 11
                                                               :
 BRACHA CAB CORP., et al.,                                     : Case No. 1-17-46613 (NHL)
                                                               :
                                                               : Jointly Administered
                            Debtors.                           x
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     CAPITAL ONE EQUIPMENT FINANCE CORP.’S OBJECTION TO DEBTORS’
          MOTION TO INCREASE EXCLUSIVE PERIOD TO FILE PLAN

        Capital One Equipment Finance Corp. f/k/a All Points Capital Corp., d/b/a Capital One

Taxi Medallion Finance (“COTMF”), through its undersigned counsel, files this objection (the

“Objection”) to the Debtors’ Motion to Increase Exclusive Period to File Plan [Doc. No. 51] (the

“Exclusivity Motion”). In support of the Objection, COTMF states as follows:

                                        INTRODUCTION

        The Debtors have failed to satisfy their burden of demonstrating cause to extend the

exclusive periods during which only the Debtors may file chapter 11 plans. The Debtors’ cases

have been pending for over four months, but the Debtors are no closer to proposing a viable chapter

11 exit strategy than they were as of the petition dates. Indeed, rather than stating a basis for

extending the Debtors’ exclusivity periods, the Exclusivity Motion merely underscores that this



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case is founded on mere speculative hopes and that the Debtors cannot accomplish an effective

reorganization within a reasonable period of time. For these reasons, the Exclusivity Motion

should be denied, and this case should be dismissed or the stay should be lifted with respect to

COTMF’s collateral.

           The Debtors’ cases are relatively simple. They have no employees, few assets, and no

businesses to reorganize. They have only one secured creditor, COTMF. COTMF is a prepetition

lender with perfected, first-priority security interests in substantially all the Debtors’ assets,

including all the Debtors’ New York City taxicab medallions (collectively, the “Medallions”).1

The Debtors admit that COTMF holds substantial secured claims that greatly exceed the value of

the Medallions. Therefore, the only issue, to the extent that these cases are not dismissed or

converted, is how the Debtors will pay COTMF through a chapter 11 plan.

           As this Court is aware, the Debtors have not filed a plan and have provided only an entirely

speculative outline of a proposal. According to the Debtors, they intend to fund their plans with

the proceeds from the sale of certain real estate owning entities (the “Real Estate Proceeds”).

While the Debtors themselves have no direct claim to the Real Estate Proceeds, they intend to

bring these funds into their estates by one of two ways—neither of which is feasible.

           First, the Debtors have indicated that they would commence an adversary proceeding

against the probate estate of Jacob Elberg (the “Elberg Estate”) to recover on defaulted loan

obligations, and the Elberg Estate would satisfy the resulting judgments with the Real Estate

Proceeds.2 This purported strategy is entirely illusory because the Elberg Estate already owes


1
 COTMF respectfully refers the Court to the Motion of Capital One Equipment Finance Corp. to Vacate the Automatic
Stay or, in the Alternative, Dismiss or Convert the Debtors’ Cases or Appoint a Chapter 11 Trustee and all supporting
documents thereto [ECF. Nos. 23- 26] (the “Stay Relief Motion”) for a complete factual background regarding
COTMF’s relationship with the Debtors and its secured claims.
2
    It also seems that the Debtors intend to assert claims against Ruben Elberg, Tamara Pewzner, and others.


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COTMF the full amount of the claims against the Debtors because Jacob Elberg fully guaranteed

COTMF’s loans to the Debtors. Accordingly, if the Elberg Estate had the money to satisfy its

obligations to COTMF, COTMF’s claims could be fully satisfied without the time or expense of

the Debtors suing the Elberg Estate. These funds, however, are the subject of protracted,

acrimonious litigation that has been pending for years—with no indication that a resolution in

favor of the Elberg Estate is likely or in prospect. Accordingly, this strategy is nothing more than

a straw man concocted to create the illusion of a source of money to fund a plan.3

        Second, upon the urging of this Court, the Debtors have said that they would try to reach a

global resolution with the Elberg Estate and Ruben Elberg, who claims a 40% interest in the Real

Estate Proceeds. This “strategy” is likewise nothing more than an unfounded hope. The relevant

decision makers have spent years deadlocked in vitriolic litigation, and the Debtors’ counsel

recently admitted in Court that negotiations have stalled.

        Because there is no reasonable likelihood that the Debtors will propose a plan to which

COTMF will consent, their Exclusivity Motion should be denied.

                                              BACKGROUND

        1.       On December 8, 2017, Bracha Cab Corp., Dovber Cab Corp., Dabri Trans Corp.,

Merab Cab Corp., Fit Taxi Corp., Tamar Cab Corp., and NY Genesis Taxi Corp. each filed

petitions for relief under chapter 11 of the Bankruptcy Code with the United States Bankruptcy

Court for the Eastern District of New York.

        2.       On December 11, 2017, Jarub Trans Corp., Somyash Taxi Corp., NY Tint Taxi

Corp., NY Stance Taxi Corp., NY Canteen Taxi Corp., NY Energy Taxi Corp., Jackhel Cab Corp.,



3
 Commencement of an adversary proceeding is also problematic because the Debtors’ sole shareholder, Esma
Elberg, would essentially being suing her daughter, Tamara Pewzner, as executor of the Elberg Estate. This would
be a clear conflict of interest.

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and Lechaim Cab Corp. commenced their cases by filing chapter 11 petitions with the Bankruptcy

Court.

         3.    The Debtors are debtors in possession operating pursuant to §§ 1107(a) and 1108

of the Bankruptcy Code. No trustee, examiner, or statutory committee of creditors has been

appointed in these chapter 11 cases.

         4.    The Bankruptcy Court entered an order on January 19, 2018 consolidating the

Debtors’ cases for procedural purposes only and directing that they be jointly administered by the

Court.

         5.    On March 9, 2018, the parties appeared for a hearing on the Stay Relief Motion.

The only substantive argument that the Debtors advanced in opposition to the Stay Relief Motion

was that the Debtors hoped to fund a plan with proceeds of a yet-to-be-filed adversary proceeding

against the Elberg Estate to collect on outstanding loan obligations.

         6.    Upon information and belief, however, the primary asset of the Elberg Estate is its

purported share of the Real Estate Proceeds that were generated from the sale of interests in certain

real estate owning entities. As recounted by counsel for Ruben Elberg at that hearing and in court

filings, Ruben Elberg claims a 40% interest in the Real Estate Proceeds, which claim the Elberg

Estate disputes. The disputes over the Real Estate Proceeds and related issues have been pending

for years. See Memorandum of Law in Opposition to Defendant’s Motion by Order to Show Cause

For a Hearing on Removal of Co-Manager Ruben Elberg at pp. 4-9, Elberg v. Crabapple Corp. et

al., Index No. 653373/2016 (Sup. Ct. N.Y. Cnty.) [NYSCEF Doc #100]. Therefore, the Debtors’

recovery, much less within a reasonable time frame, is fanciful.




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        7.       As the Court noted, the Debtors, the Elberg Estate, and Ruben Elberg are all

individually liable for unpaid debts to COTMF. The Court adjourned the Stay Relief Motion and

directed those parties to meet and try to negotiate a resolution of their myriad issues.

        8.       On April 6, 2018, the Debtors filed the Exclusivity Motion. As set forth therein,

the Debtors request a 90-day extension of the 120-day period during which the Debtors have the

exclusive right to file their chapter 11 plans. The Debtors maintain that they will resolve their

issues with the Elberg Estate and Ruben Elberg, and will submit with those parties a joint

settlement proposal for COTMF’s review. As of the date of this Objection, however, it seems that

no progress has been made toward any global settlement.4

                                               OBJECTION

        9.       The Debtors’ request to extend the exclusive period to file a chapter 11 plan should

be denied. Pursuant to § 1121(d)(1), the court may extend the exclusive period “for cause”. 11

U.S.C. § 1121(d)(1). The movant has the burden of demonstrating cause, “which requires [that]

an affirmative showing . . . supported by evidence, be made by the party seeking the extension . .

. .” See In re R.G. Pharmacy, Inc., 374 B.R. 484, 487 (Bankr. D. Conn. 2007) (citation and internal

quotation marks omitted)).

        10.      While the Debtors are correct that courts generally assess the Adelphia Factors set

forth below when determining whether cause has been shown, an extension is warranted only “in

unusual circumstances, involving very large or complex cases.” In re Sw. Oil Co. of Jourdanton,

Inc., 84 B.R. 448, 452 (Bankr. W.D. Tex. 1987); see also In re Borders Grp., Inc., 460 B.R. 818,

821 (Bankr. S.D.N.Y. 2011) (“A court’s decision to extend a debtor’s exclusive periods is a serious

matter; extensions are not granted routinely or cavalierly.”).


4
 This does not surprise COTMF, as the litigation in Supreme and Surrogate’s Court has remained pending for years
without settlement and has been contentious.

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         11.      Here, the Adelphia Factors weigh in favor of denying an extension of exclusivity,

and there are no “unusual circumstances” justifying an extension. The Debtors are shell companies

whose only function is to receive passive income from the leases of the Medallions. They have no

employees and, excluding the “notes receivable” from the Elberg Estate—of which there is no

evidence—the Medallions are their only assets. Likewise, COTMF is their only notable creditor.

Therefore, these chapter 11 cases are a far cry from cases like Adelphia, which Judge Gerber

described as “of unprecedented complexity and overwhelming size.” In re Adelphia Commc’ns

Corp., 352 B.R. 578, 587 (Bankr. S.D.N.Y. 2006).5

                                       Application of Adelphia Factors

I.       The size and complexity of the case

         12.      The Debtors have not shown that their cases are sufficiently large or complex to

warrant an extension of exclusivity. In fact, they fail to even address this factor at all presumably

because it weighs so heavily against them.

         13.      The only secured creditor in these cases is COTMF. Some Debtors scheduled a

handful of unsecured claims, which COTMF believes are primarily held by personal injury

claimants.6 Further, the legitimacy of some of these scheduled claims is suspect. For example,

counsel for COTMF received a letter from counsel for two alleged creditors stating that any claims

against the Debtors had been settled or resolved years ago.7




5
 And, in any event, the Debtors will still have the ability to propose a plan concurrently even if their Exclusivity
Motion is denied.
6
 These claims are scheduled mostly as contingent and unliquidated. COTMF suspects that these claims are covered
by the Debtors’ applicable insurance.
7
  A copy of the letter was attached as Exhibit B to the Reply Memorandum of Law of Capital One Equipment
Finance Corp. in Further Support of Motion to Vacate the Automatic Stay or, in the Alternative, Dismiss or Convert
the Debtors’ Cases or Appoint a Chapter 11 Trustee [ECF No. 36].

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        14.     Even if the Court were to assume that each of the $1,000,000.00 notes receivable

are legitimate and collectible assets, each Debtor’s estate, after liabilities, is worth on average less

than $700,000.00. The Debtors do not employ anyone and, simply put, they are mere holding

corporations.

        15.     Likewise, the dispute between COTMF and the Debtors, which is what these

chapter 11 cases are about, is simple: The Debtors defaulted on their secured obligations to

COTMF, and they have no defenses to COTMF’s claims. Because the Debtors have failed to

identify any complexities requiring an extension of exclusivity, this Adelphia Factor favors

COTMF.

II.     The necessity for sufficient time to permit the debtor to negotiate a plan of
        reorganization and prepare adequate information; the existence of good faith
        progress toward reorganization; and whether the debtor has made progress in
        negotiations with its creditors

        16.     COTMF submits that the Debtors have had ample time to negotiate a plan of

reorganization. The Debtors have known since before the petition dates that any plan will

necessarily require resolution of the disputes with the Elberg Estate and Ruben Elberg. Yet, upon

information and belief, the Debtors made no effort to negotiate with these parties until this Court

directed them to do so. Even now, it seems that these discussions have stalled, which is not

surprising considering that these parties have been mired in litigation for years.

        17.     Unlike most chapter 11 debtors, these Debtors have no businesses to restructure,

few claims to reconcile, and no complicated financials to prepare in aid of plan negotiations. The

Debtors’ singular focus in these cases should have been working with the Elberg Estate and Ruben

Elberg on a global settlement resolving COTMF’s claims that would be incorporated into a chapter

11 plan.      While the Debtors baldly assert that they are making good faith progress to

reorganization, they have neither adduced any facts or evidence to back this up nor provided any


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basis to conclude that negotiations will progress significantly within the next 90 days. Therefore,

these Adelphia Factors likewise favor COTMF.

        III.   The fact that the debtor is paying its bills as they become due

        18.    Even if the Debtors are timely paying their bills, this factor should be given little

weight considering that the Debtors have few expenses. See Debtors’ Motion for Authorization to

Use Cash Collateral [ECF No. 29].

        IV.    Whether the debtor has demonstrated
               reasonable prospects of filing a viable plan

        19.    As set forth more fully in the Stay Relief Motion, the Debtors have failed to

demonstrate reasonable prospects of filing viable chapter 11 plans, confirmation of which would

require COTMF’s support. To date, no plans or even an outline of a term sheet have been

proposed, and there is no evidence that necessary negotiations have progressed or even taken place

(due to no fault on COTMF’s part). What the Debtors have outlined thus far is a highly speculative

proposal. Funding for the plans, according to the Debtors, hinges on (i) a presently hypothetical

adversary proceeding that may or may not conclude with a collectible judgment against the Elberg

Estate (which is already directly liable to COTMF for the debt); and (ii) a potential settlement with

the Elberg Estate and Ruben Elberg—even though these parties have been embroiled in

contentious litigation for years. This Adelphia Factor supports denial of the Exclusivity Motion

and should be given considerable weight because extending exclusivity would be pointless and

wasteful under the circumstances.




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        V.     Whether the debtor is seeking an extension of exclusivity in order to pressure
               creditors to submit to the debtor’s reorganization demands

        20.    The Exclusivity Motion must be viewed as an attempt to pressure COTMF into

some sort of concession by continuing to forestall its rightful collection efforts, as demonstrated

by the complete lack of any progress toward a reorganization.

        VI.    Whether an unresolved contingency exists

        21.    There are no unresolved contingencies that require an extension of exclusivity.

That the Debtors may file an adversary proceeding is not a compelling contingency because

chapter 11 debtors often find themselves in litigation. “Only under extreme circumstances would

the existence of litigation constitute cause for an extension, where the mass, weight, volume and

complication of the litigation may justify a ‘shakedown’ period.” In re Sw. Oil Co. of Jourdanton,

Inc., 84 B.R. at 452 (distinguishing In re Manville Forest Prod. Corp., 31 B.R. 991, 995 (S.D.N.Y.

1983), in which debtors faced potential liability of $2 billion). Any litigation that the Debtors may

commence against the Elberg Estate would be a straightforward action to enforce repayment of

loans. Accordingly, this Adelphia Factor fails to support the Debtors’ request to extend the

exclusive period.

        22.    Because the Adelphia Factors weigh heavily against extending exclusivity, the

Court should deny the Exclusivity Motion.




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                                         CONCLUSION

        WHEREFORE, for the foregoing reasons, COTMF respectfully requests that the Court

sustain COTMF’s Objection and enter an order denying the Exclusivity Motion and granting such

other and further relief as this Court deems just and proper.

Dated: New York, New York
       April 18, 2018                           TROUTMAN SANDERS LLP


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